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                       Attorneys for Defendant
                   7   VELOCITY TECHNOLOGY
                       SOLUTIONS, INC.
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                   9                                  UNITED STATES DISTRICT COURT

                  10                                EASTERN DISTRICT OF CALIFORNIA

                  11   GARRISON JONES,                                         Case No. 2:19-cv-02374-KJM-JDP

                  12                  Plaintiff,                               DEFENDANT’S SEPARATE STATEMENT
                                                                               OF UNDISPUTED FACTS IN SUPPORT OF
                  13          v.                                               DEFENDANT’S MOTION FOR SUMMARY
                                                                               JUDGMENT
                  14   VELOCITY TECHNOLOGY SOLUTIONS,
                       INC.; SHAUNA COLEMAN, individually                      [Filed Concurrently with Notice of Motion for
                  15   and as H.R. Director of Velocity Technology             Summary Judgment; Memorandum of Points and
                       Solutions; CHRIS HELLER, individually and               Authorities; Request for Judicial Notice;
                  16   as General Counsel of Velocity Technology               Declaration of Jennifer Colvin]
                       Solutions; STEVEN KLOEBLEN,
                  17   individually and as CEO of Velocity                     DATE:     September 16, 2021
                       Technology Solutions; MICHAEL                           TIME:     10:00 AM
                  18   BALDWIN, individually and as an employee                LOCATION: Courtroom 9, 13th Floor
                       of Velocity Technology Solutions.                                 501 I Street
                  19                                                                     Sacramento, CA 95814
                                      Defendants.
                  20
                                                                               Complaint Filed: November 25, 2019
                  21                                                           Trial Date:       None Set
                                                                               Magistrate Judge: Hon. Jeremy D. Peterson
                  22                                                           District Judge:   Hon. Kimberly J. Mueller

                  23

                  24   TO PLAINTIFF GARRISON JONES:

                  25          Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 260(a) of the Eastern

                  26   District of California, Defendant Velocity Technology Solutions, Inc. (“Velocity”) hereby submits

                  27   the following Statement of Undisputed Facts and supporting evidence in support of its Motion for

48032830_1.docx   28   Summary Judgment.

                                                                              1                      Case No. 2:19-cv-02374-KJM-JDP
                           DEFENDANT’S SEPARATE STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                       Case 2:19-cv-02374-KJM-JDP Document 83-2 Filed 08/13/21 Page 2 of 3


                   1               DEFENDANT’S SEPARATE STATEMENT OF UNDISPUTED FACTS
                   2                                       AND SUPPORTING EVIDENCE
                   3                       Defendant’s Undisputed Facts                               Plaintiff’s Response
                   4                          and Supporting Evidence                                     in Rebuttal
                       1.        On August 16, 2018, Garrison Jones and Velocity
                   5             entered into a Confidential Negotiated Settlement
                                 Agreement to resolve the matter of Garrison
                   6             Jones v. Velocity Technology Solutions, et al.,
                                 Case No. 1:18-cv-03288 in the Northern District
                   7             of Illinois.
                   8
                                 Declaration of Jennifer Colvin in support of
                   9             Defendant’s Motion for Summary Judgment ¶ 2-
                                 3, Exhibit 1.
                  10
                       2.        The Settlement Agreement provides:
                  11
                                 “To the fullest extent legally permissible, Jones
                  12             knowingly and voluntarily releases, relinquishes,
                                 waives, and forever discharges the Company…
                  13
                                 from all known and unknown causes of action,
                  14             claims, allegations, liabilities, losses, and
                                 damages of any kind Jones has alleged, brought
                  15             or sought or could allege, bring or seek against
                                 Released Parties as of and including the date this
                  16             Agreement is executed by Jones, including those
                                 based on additional or later discovered facts,
                  17
                                 circumstances, information, claims, causes of
                  18             action, or theories. This Agreement does not,
                                 however, apply to any claim that cannot be
                  19             released as a matter of law including those that
                                 arise after Jones signs this Agreement.
                  20
                                 Potential claims against the Released Parties that
                  21
                                 Jones is releasing, include, but are not limited to,
                  22             any claims: (a) arising out of or based on Jones’s
                                 employment with the Company and/or his
                  23             resignation thereof; (b) arising under the
                                 Company’s policies, plans, or practices, including
                  24             those regarding promotion, compensation,
                  25             overtime pay, commissions, vacation pay,
                                 bonuses, expenses, or benefits; (c) based in tort,
                  26             contract, or equity… (d) for harassment,
                                 discrimination, retaliation or violation of public
                  27             policy; (e) for violation of state or federal
                                 common law or statutory law including all claims
48032830_1.docx   28             arising under Title VII of the Civil Rights Act of

                                                                               2                      Case No. 2:19-cv-02374-KJM-JDP
                            DEFENDANT’S SEPARATE STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                       Case 2:19-cv-02374-KJM-JDP Document 83-2 Filed 08/13/21 Page 3 of 3


                   1           1964…the Family and Medical Leave Act… the
                               Age Discrimination in Employment Act, the
                   2           Older Workers Benefit and Protection Act, the
                   3           Equal Pay Act… and other federal, state, or local
                               laws relating to employment or separation from
                   4           employment or benefits associated with
                               employment; and (f) for emotional distress,
                   5           mental anguish, humiliation, or personal injury.”
                   6
                               Declaration of Jennifer Colvin in support of
                   7           Defendant’s Motion for Summary Judgment ¶ 3
                               Exhibit 1.
                   8

                   9
                       DATED: August 13, 2021                           OGLETREE, DEAKINS, NASH,
                  10                                                    SMOAK & STEWART, P.C.

                  11
                                                                        By:    /s/ Anthony J. DeCristoforo
                  12                                                          Anthony J. DeCristoforo
                                                                              Paul M. Smith
                  13
                                                                              Attorneys for Defendant VELOCITY
                  14                                                          TECHNOLOGY SOLUTIONS, INC.
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                                                                              3                     Case No. 2:19-cv-02374-KJM-JDP
                          DEFENDANT’S SEPARATE STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
